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      ORDERED in the Southern District of Florida on March 29, 2019.




                                                    Laurel M. Isicoff
                                                    Chief United States Bankruptcy Judge




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                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                            MIAMI DIVISION
                                           www.flsb.uscourts.gov
       IN RE:                                           CASE NO.: 18-14821-LMI

       WILL ZAMORA                                          Chapter 7

               Debtor./

                               ORDER DENYING DEBTOR’S DISCHARGE

              THIS CAUSE having come before the Court on March 27, 2019 at 9:30 a.m., upon Ross

      R. Hartog’s Motion to Deny Discharge of Debtor Under 11 U.S.C. § 727(a)(2), (3), (4), and (6)

      (the "Motion") [ECF No. 106], and the Court, having reviewed the Motion and the file, having

      heard argument from Trustee’s counsel, being otherwise fully advised in the premises and for the

      reasons set forth in the record, it is

              ORDERED as follows:
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       1.      The Motion is GRANTED.

       2.      The Debtor’s discharge is DENIED.

       3.      The Court reserves jurisdiction to enter any further Orders or take any other

actions that may be reasonably necessary in connection with this matter.

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Submitted by:
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Copies to:
John H. Lee, Esq.
(Attorney Lee is directed to mail a copy of this Order to all interested parties and to file a
certificate of service).
